                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 IN RE:
                                                          Case No. 19-41019
 SWOPE, JEFFREY GORDON                                    Chapter 7

                                  Debtor

       TRUSTEE’S NOTICE OF INTENT TO ABANDON NON-EXEMPT ASSETS

YOUR RIGHTS MAY BE AFFECTED BY THE RELIEF SOUGHT IN THIS PLEADING. YOU SHOULD READ THIS PLEADING
CAREFULLY AND DISCUSS IT WITH YOUR ATTORNEY, IF YOU HAVE ONE IN THIS BANKRUPTCY CASE. IF YOU OPPOSE
THE RELIEF SOUGHT BY THIS PLEADING, YOU MUST FILE A WRITTEN OBJECTION, EXPLAINING THE FACTUAL
AND/OR LEGAL BASIS FOR OPPOSING THE RELIEF.

NO HEARING WILL BE CONDUCTED ON THIS NOTICE UNLESS A WRITTEN OBJECTION IS FILED WITH THE CLERK OF
THE UNITED STATES BANKRUPTCY COURT AND SERVED UPON THE PARTY FILING THIS PLEADING WITHIN
FOURTEEN (14) DAYS FROM THE DATE OF SERVICE SHOWN IN THE CERTIFICATE OF SERVICE UNLESS THE
COURT SHORTENS OR EXTENDS THE TIME FOR FILING SUCH OBJECTION. IF NO OBJECTION IS TIMELY SERVED AND
FILED, THIS PLEADING SHALL BE DEEMED TO BE UNOPPOSED, AND THE COURT MAY ENTER AN ORDER GRANTING
THE RELIEF SOUGHT. IF AN OBJECTION IS FILED AND SERVED IN A TIMELY MANNER, THE COURT WILL THEREAFTER
SET A HEARING WITH APPROPRIATE NOTICE. IF YOU FAIL TO APPEAR AT THE HEARING, YOUR OBJECTION MAY BE
STRICKEN. THE COURT RESERVES THE RIGHT TO SET A HEARING ON ANY MATTER.


         COMES NOW Mark A. Weisbart, Trustee, and pursuant to 11 U.S.C. § 554(a) files this

Notice of Intent to Abandon Non-Exempt Assets and in support hereof, would show the Court as

follows:

        1.      In connection with his duties in this case, Trustee has evaluated all non-exempt

assets of this case, including all entities scheduled by the Debtor, and all claims and causes of

action held by the bankruptcy estate, and has determined these assets have no or nominal value to

the bankruptcy estate and that such assets should be abandoned.

        2.      Pursuant to 11 U.S.C. § 554(a), unless a timely objection to this Notice is filed

pursuant to Rule 6007 of the Rules of Bankruptcy Procedure, this Notice of Abandonment shall

become automatically effective.




Trustee’s Notice of Intent to Abandon Non-Exempt Assets                                       Page 1
                                                  Respectfully Submitted,

                                                  /s/ Mark A. Weisbart
                                                  Mark A. Weisbart
                                                  Texas Bar No. 21102650
                                                  THE LAW OFFICE OF MARK A. WEISBART
                                                  12770 Coit Road, Suite 541
                                                  Dallas, TX 75251
                                                  (972) 628-4903 Phone
                                                  mark@weisbartlaw.net

                                                  CHAPTER 7 TRUSTEE




                                    CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing instrument was served on the
parties listed on the attached mailing matrix either through the Court’s electronic notification
system as permitted by Appendix 5005 to the Local Rules of the U.S. Bankruptcy Court for the
Eastern District of Texas, or by first class United States Mail, postage prepaid this 12th day of May
2020.
                                                        /s/ Mark A. Weisbart
                                                        Mark A. Weisbart




Trustee’s Notice of Intent to Abandon Non-Exempt Assets                                        Page 2
Label Matrix for local noticing                      Weldon Reed Allmand                                  Aubrey M Boelsche Estate
0540-4                                               Allmand Law Firm, PLLC                               2001 Parker Lane, # 125
Case 19-41019                                        860 Airport Freeway, Suite 401                       Austin, TX 78741-3847
Eastern District of Texas                            Hurst, TX 76054-3264
Sherman
Tue May 12 11:09:26 CDT 2020
Bank of America                                      Bank of America, N.A.                                Shannon Swope Barnett
4909 Savarese Circle                                 P O Box 982284                                       5600 W. Lovers Ln. #116-172
FL1-908-01-50                                        El Paso, TX 79998-2284                               Dallas, TX 75209-4330
Tampa, FL 33634-2413


Capital One                                          Cavalry Portfolio Services                           Cavalry SPV I, LLC
Attn: Bankruptcy                                     ATTN: Bankruptcy Department                          500 Summit Lake Drive, Ste 400
PO Box 30285                                         500 Summit Lake Ste 400                              Valhalla, NY 10595-2321
Salt Lake City, UT 84130-0285                        Valhalla, NY 10595-2322


Convergent Outsourcing, Inc.                         (p)FIDELITY INFORMATION CORPORATION                  Gregory D Wright
Attn: Bankruptcy                                     PO BOX 3963                                          Charles R Billings, PC
PO Box 9004                                          GLENDALE CA 91221-0963                               14901 Quorum DR, # 525
Renton, WA 98057-9004                                                                                     Dallas, TX 75254-6754


Internal Revenue Service                             J. Richard Tubb                                      Herman A. Lusky
P.O. Box 7346                                        Tubb Law Firm                                        5473 Blair Rd.
Philadelphia, PA 19101-7346                          Preston Commons West                                 Dallas, TX 75231-2328
                                                     88117 Preston Rd, Suite 300
                                                     Dallas, TX 75225

Probate Court Number 3                               Shannon S Barnett                                    Southwest Credit Systems
Renaissance Tower                                    5600 W, Lovers Lane, Suite 116-172                   4120 International Parkway
1201 Elm St, # 2200-B                                Dallas, TX 75209-4330                                Suite 1100
Dallas, TX 75270-2121                                                                                     Carrollton, TX 75007-1958


Jeffrey Gordon Swope                                 Travis County District Court                         U.S. Attorney General
3211 Topanga Canyon Dr                               Travis County Court House                            Department of Justice
Denton, TX 76210-3132                                1000 Guadalupe                                       Main Justice Building
                                                     PO Box 679003                                        10th & Constitution Ave., NW
                                                     Austin, TX 78767-9003                                Washington, DC 20530-0001

US Trustee                                           United States Attorney General                       United States Attorney’s Office
Office of the U.S. Trustee                           Main Justice Building, Rm 5111                       110 North College Avenue, Suite 700
110 N. College Ave.                                  10th & Constitution Ave                              Tyler, Texas 75702-0204
Suite 300                                            NW Washington D.C. 50230
Tyler, TX 75702-7231

United States Trustee’s Office                       Mark A. Weisbart                                     Wesley P. Mc Guffey
110 North College Avenue, Suite 300                  The Law Office of Mark A. Weisbart                   Hance Scarborough, LLP
Tyler, Texas 75702-7231                              12770 Coit Road, Suite 541                           400 W. 15th Street, Ste 950
                                                     Dallas, TX 75251-1366                                Austin, TX 78701-1696




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).
Fidelity Information C
Po Box 49938
Los Angeles, CA 90049




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Mark A. Weisbart                                  End of Label Matrix
The Law Office of Mark A. Weisbart                   Mailable recipients    26
12770 Coit Road, Suite 541                           Bypassed recipients     1
Dallas, TX 75251-1366                                Total                  27
